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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al., 1                       Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered




ORDER DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

                               (“JOINT ADMINISTRATION ORDER”)

                  Upon the motion (the “Motion”) 2 of Genesis Global Holdco, LLC (“Holdco”) and

its affiliates, as debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), for entry of an order directing the joint administration of the Debtors’ related chapter

11 cases, as more fully described in the Motion; and upon the First Day Declarations, filed

concurrently with the Motion; and the Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the Southern District of New York dated January 31, 2012; and the Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter

a final order consistent with Article III of the United States Constitution; and the Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and the Court having found that the relief requested in the Motion is in the best

interests of the Debtors, their estates, their creditors and other parties in interest; and the Court



1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
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         Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

was appropriate and no other notice need be provided; and the Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor,

             IT IS HEREBY ORDERED THAT:

             1.   The Motion is granted to the extent set forth herein.

             2.   The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 23-10063.

             3.   The caption of the jointly administered cases shall read as follows:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al.,1                        Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.

             4.   The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.




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       5.      A docket entry shall be made in each of the above-captioned cases substantially as

follows: “An order has been entered in this case directing the procedural consolidation and joint

administration of the Chapter 11 Cases commenced by Genesis Global Holdco, LLC. The docket

in Case No. 23-10063 should be consulted for all matters affecting the above listed cases.

       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of New York shall keep, one consolidated docket, one file and one

consolidated service list.

       7.      The Debtors shall file their monthly operating reports required by the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued by the

U.S. Trustee, in accordance with the applicable Instructions for UST Form 11-MOR: Monthly

Operating Report and Supporting Documentation.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases.

       9.      To the extent that any affiliates of the Debtors subsequently commence Chapter 11

cases, the relief granted pursuant to this Order shall apply to such debtors and their respective

estates, provided, however, that the Debtors shall file notice with the Court identifying the cases

of such affiliates and stating that this Order shall apply to such cases.

       10.     Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure to the

contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its entry,

(ii) the Debtors are not subject to any stay in the implementation, enforcement or realization of the

relief granted in this Order, and (iii) the Debtors may, in their discretion and without further delay,

take any action and perform any act authorized under this Order.




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       11.     The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, or enforcement of this Order.



 Dated:      January 26, 2023                        /s/ Sean H. Lane
             White Plains, New York                  United States Bankruptcy Judge




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